           Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 1 of 10



                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

RITA SCHINDELER-TRACHTA, D.O., §
      Plaintiff                §
                               §
v.                             §
                               §
TEXAS DEPARTMENT OF STATE §                                Case No. 1:17-cv-00257-SS
HEALTH SERVICES, AUSTIN STATE §
HOSPITAL, STEVEN CATHEY, M.D., §
AND ALAN ISAACSON,             §
     Defendants.               §


     PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS UNDER
        RULE 12(B)(6), AND, IN THE ALTERNATIVE, FOR RULE 7 ORDER
                    CONCERNING QUALIFIED IMMUNITY

TO THE HONORABLE SAM SPARKS, U.S. DISTRICT JUDGE:

         Plaintiff Rita Schindeler-Trachta, D.O. (“Plaintiff” or “Dr. Schindeler-Trachta”), files this

Response to Defendants’ Motion to Dismiss Under Rule 12(b)(6), and, In the Alternative, for Rule 7

Order Concerning Qualified Immunity (“Motion to Dismiss”).1 In support, Plaintiff respectfully

shows as follows:

                                          I.
                               SUMMARY OF THE ARGUMENT

    1.   Regarding Plaintiffs’ Title VII claims against individual defendants Steven Cathey, M.D.,

and Alan Isaacson, Plaintiff hereby nonsuits these claims without prejudice. Plaintiff seeks relief

under Title VII against Texas Department of State Health Services and Austin State Hospital only.

Accordingly, Defendants’ motion as to the Title VII claims is moot.


1
  Subsequent to Defendants’ filing of their Motion to Dismiss, Plaintiff filed her First Amended
Complaint pursuant to Federal Rule of Civil Procedure 15(a)(1)(B). See Document No. 11 (Sept.
5, 2017). Thus, this Response will refer to Plaintiff’s First Amended Complaint rather than her
Original Complaint, except where otherwise noted.
          Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 2 of 10



  2.   Defendants seek to dismiss Plaintiff’s claim under the Equal Pay Act, but the Court should

reject this argument. The allegations contained in Plaintiff’s Complaint provide fair notice of

Plaintiff’s Equal Pay Act claim and sufficiently show a plausible claim for relief. Plaintiff’s

Complaint establishes that she was paid less than comparable male employees who performed

substantially equal jobs under substantially equal conditions. Further, as discussed below, Plaintiff

properly compared her salary to the salaries of other physicians who hold the same position as

Plaintiff in different offices within the Texas Health and Human Services system. This comparison

is authorized by long-standing Federal law and is the exact comparison that Defendant Texas

Department of State Health Services (DSHS) made when it evaluated Plaintiff’s salary. Defendants

have failed to offer this Court any valid reason to dismiss Plaintiff’s claims, and, therefore, the

Court should deny Defendants’ Motion to Dismiss.

                                  II.
    PLAINTIFF NONSUITS THE TITLE VII CLAIMS AGAINST THE INDIVIDUAL
                             DEFENDANTS

  3.   Plaintiff hereby nonsuits the Title VII claims against individual defendants Steven Cathey,

M.D., and Alan Isaacson, without prejudice. Plaintiff seeks relief under Title VII against Texas

Department of State Health Services and Austin State Hospital only. Accordingly, Defendants’

motion as to the Title VII claims is moot.

                                 III.
    PLAINTIFF HAS ALLEGED APPROPRIATE COMPARATORS WITHIN THE
  MEANING OF THE EQUAL PAY ACT, AND THUS HER EQUAL PAY ACT CLAIMS
                      SHOULD NOT BE DISMISSED.

  4.   To state a claim under the Equal Pay Act, an employee must allege that she is paid different

wages than employees of the opposite sex for work on jobs that require substantially equal skill,

effort, and responsibility and that are performed under substantially equal working conditions. See

Chance v. Rice Univ., 984 F.2d 151, 153 (5th Cir. 1993). In her First Amended Complaint, Plaintiff



                                                -2-
            Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 3 of 10



(a doctor of Osteopathic Medicine at the Austin State Hospital or ASH) alleges the following,

among other things, regarding her Equal Pay Act claim:

                  There are four non-psychiatrist physicians working at the Austin State
          Supported Living Center (ASSLC) who perform medical care for the long-term
          patients in that facility. Plaintiff’s working conditions at ASH are similar to the
          working conditions under which these physicians work at ASSLC, which, like
          ASH, is a facility in Austin that is part of the HHS system and that provides
          medical care for medically fragile patients with mental and physical health issues.
          The jobs held by Plaintiff and these physicians have the substantially equal
          responsibilities of performing non-psychiatric medical care for long-term patients.
          The jobs held by Plaintiff and these physicians require the substantially equal
          skills necessary for acting as the primary care physicians for patients requiring
          complex, long-term care. The jobs held by Plaintiff and these physicians also
          require the substantially equal effort necessary to perform both the medical
          services and the management and administrative tasks required of Attending
          Physicians with similar patient loads. Like Plaintiff, two of the ASSLC
          physicians are classified as “Physician III” and two are classified as “Physician
          II,” which is a lower classification than Plaintiff. However, all four of these
          physicians are paid considerably more than Plaintiff, receiving annual salaries of
          between $224,664 and $200,859. All four of these physicians are male.

See Plaintiff’s First Amended Complaint (Dkt. #11) ¶ 17; see also id. ¶¶ 18, 39-40.

  5.      These allegations set forth the elements of an Equal Pay Act claim that are described above

(i.e., different pay for substantially equal work under substantially equal conditions), provide fair

notice of Plaintiff’s Equal Pay Act claims, and sufficiently show a plausible claim for relief. See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56

(2007).

  6.      In their Motion to Dismiss, Defendants claim that Plaintiff’s only allegations in support of

her Equal Pay Act claim are that both she and the male physicians to which she should be compared

“perform medical care” and are “classified as a ‘Physician III.’” See Motion to Dismiss (Dkt. #6) at

7. However, as shown above, Plaintiff has offered extensive allegations to illustrate that Plaintiff

and the comparators performed substantially equal work under substantially equal conditions.




                                                  -3-
           Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 4 of 10



Defendants’ argument does not reflect Plaintiff’s actual allegations and offers this Court absolutely

no reason to dismiss Plaintiff’s valid Equal Pay Act claims.2

    7.   In addition, Defendants argue that the comparators cited by Plaintiff in her First Amended

Complaint are improper because they work at ASSLC, which is at a separate physical location from

ASH (where Plaintiff works). According to Defendants, this comparison does not satisfy the

requirement that an Equal Pay Act claim be determined by comparing employees who work at the

same “establishment.” See Motion to Dismiss (Dkt. #6) at 6. Defendants correctly cite to part of

the Department of Labor regulation that defines the term “establishment,” which states that

generally an “establishment” refers to a “distinct physical place of business.” See id.; 29 C.F.R. §

1620.9(a). However, Defendants do not mention the remainder of that regulation, which states that

“unusual circumstances may call for two or more distinct physical portions of a business enterprise

being treated as a single establishment.” See 29 C.F.R. § 1620.9(b).

    8.   Consistent with this regulation, courts throughout the country and within the Fifth Circuit

have found, for decades, “that there are situations in which a single establishment can include

operations at more than one physical location.” Mulhall v. Advance Security, Inc., 19 F.3d 586, 591

(11th Cir. 1994) (holding that Equal Pay Act plaintiff could be compared to employees working at

different office locations); Marshall v. Dallas Indep. Sch. Dist., 605 F.2d 191, 194 (5th Cir. 1979)

(holding that entire school district, rather than individual schools, constituted an establishment);

Brennan v. Goose Creek Consol. Indep. Sch. Dist., 519 F.2d 53, 58 (5th Cir. 1975); (holding that

entire school district, rather than individual schools, constituted an establishment); Tomchek-May v.

Brown County, 581 F. Supp. 1163, 1168 (E.D. Wis. 1984) (holding that entire county, rather than

2
  Plaintiff’s Original Complaint contained similar allegations to those stated in her First
Amended Complaint. See Plaintiff’s Original Complaint (Dkt. #1) ¶¶ 38-39; see also id. ¶ 17.
Like the First Amended Complaint, Plaintiff’s Original Complaint also satisfied the requirements
of Federal Rule of Civil Procedure 12(b)(6).


                                                -4-
          Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 5 of 10



individual county departments, constituted an establishment). “A contrary result obtained through

narrow construction of the word ‘establishment’ could ‘make proof of discrimination more difficult,

thus frustrating congressional intent.’” Mulhall, 19 F.3d at 91 (quoting Goose Creek, 519 F.2d at

57).

  9.   Although the circumstances evaluated by the courts in determining whether multiple

physical locations constitute a single establishment vary from case to case, one frequently cited

factor in this analysis is the extent to which the locations are subject to some type of centralized

control. Mulhall, 19 F.3d at 91. “The hallmarks of this standard are centralized control of job

descriptions, salary administration, and job assignments or functions.” Mulhall, 19 F.3d at 91.

  10. In this case, the facts alleged by Plaintiff establish that ASH and ASSLC are part of a single

establishment under the Equal Pay Act. In her First Amended Complaint, Plaintiff alleges that

“[a]lthough ASSLC and ASH are located in different physical locations, both hospitals are part of

the HHS system,” and, therefore, at a minimum, “both locations are subject to the management and

control of HHS.” See First Amended Complaint (Dkt. #11) ¶ 18. Similarly, in their Motion to

Dismiss, Defendants admit that, while ASH and ASSLC are in two different physical locations, they

are “both part of the health and human services system.” Motion to Dismiss (Dkt. #6) at 7.

  11. Plaintiff also alleges additional facts showing the extent to which ASH and ASSLC are

under the common control and operation of HHS:

       In fact, while ASSLC and ASH previously fell under different departments within
       HHS (the Department of Aging and Disability Services (DADS) and DSHS,
       respectively), that is no longer the case. Through Senate Bills 200 and 202, the 84th
       Texas Legislature eliminated whatever administrative distinctions, if any, that had
       existed between HHS, DADS, and DSHS. DADS has been eliminated entirely, and
       its operation of ASSLC and all of its other functions have been transferred to HHS.
       Similarly, much of DSHS’s functions, including its operation of ASH and the other
       Texas State Hospitals, have been transferred to HHS. See Tex. S.B. 200, 84th Leg.,
       R.S. (2015); Tex. S.B. 202, 84th Leg., R.S. (2015); https://www.dads.state.tx.us/;
       http://www.dshs.texas.gov/TransitioningPrograms.aspx.



                                                -5-
            Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 6 of 10



See First Amended Complaint (Dkt. #11) ¶ 18.

  12. Further, regarding the specific “hallmarks” of centralized control listed above. Plaintiff

alleges that she and two of the comparators held a common job description, specifically the

statewide description “Physician III,” which describes the job functions that are expected of all

Physician      IIIs    and     references     an      associated    “Salary     Group”           See

http://www.hr.sao.texas.gov/Compensation/JobDescriptions/R4438.htm.           See First Amended

Complaint (Dkt. #11) ¶¶ 14 & n.1, 17, 39. The other two comparators perform the same job

functions as Plaintiff, but are classified as “Physician II.” While this classification is lower than

Plaintiff’s classification, these two male physicians are still paid tens of thousands of dollars

more per year than Plaintiff, even though they perform substantially equal work as Plaintiff

under substantially equal conditions. See First Amended Complaint (Dkt. #11) ¶ 17.

  13. Moreover, as discussed in its July 15, 2015, Action Memorandum described in Plaintiff’s

First Amended Complaint, Defendant DSHS did not treat different locations within HHS as

separate establishments and, instead, evaluated Plaintiff’s salary against the standard of “similar

positions within the HHS enterprise.” See Plaintiff’s First Amended Complaint (Dkt. #11) ¶ 15, 18

(quoting Action Memorandum for the Commissioner (July 15, 2015) at 2 (emphasis added)); see

also Plaintiff’s Original Complaint (Dkt. #1) ¶ 15. Thus, while Defendants ask the Court to treat

different locations within HHS as separate establishments, Defendant DSHS itself treats the entire

HHS system as a single “enterprise” through which salaries (including Plaintiff’s salary,

specifically) are evaluated.

  14. Therefore, the facts alleged by Plaintiff show that ASH and ASSLC are controlled and

operated by HHS and that Defendant DSHS evaluated Plaintiff’s salary relative to “similar

positions” within the entire HHS system. Plaintiff merely asks the Court to hold Defendants to their




                                                -6-
            Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 7 of 10



own standard that they have already applied to Plaintiff, follow the analytical framework established

under Federal law, treat the two physical locations at issue as part of a single establishment, and

deny Defendants’ Motion to Dismiss.

  15. Moreover, even if Defendants had a more meritorious argument for treating the locations at

issue as separate establishments, this issue is not appropriate for resolution by motion to dismiss, as

one district court recently ruled: “The fact intensive question of whether an employer maintains

sufficient centralized control over different locations so that they constitute a single establishment

under the Equal Pay Act is simply not appropriately answer at the motion to dismiss stage.” See

Finefrock v. Five Guys Operations, LLC, No. 1:16-cv-1221, 2017 WL 1196509, *3 (M.D. Pa. Mar.

31, 2017) (denying defendant’s motion to dismiss plaintiffs’ Equal Pay Act claims “for failure to

adequately plead that separate [locations] could plausibly be considered a single establishment”).

  16. As described above, Plaintiff’s Complaint shows a plausible claim for relief by alleging

facts to show the essential elements of her Equal Pay Act claim and sufficient facts to show that the

alleged comparators and Plaintiff should be treated as part of a single establishment for purposes of

the Equal Pay Act. Defendants’ Motion to Dismiss should be denied.

                                    IV.
            THE COURT SHOULD DECLINE TO EXERCISE ITS DISCRETION
                 UNDER FEDERAL RULE OF CIVIL PROCEDURE 7(a).

  17. Finally, Defendants request, in the alternative, that the Court order Plaintiff to file a reply to

Defendants’ claim of qualified immunity under Federal Rule of Civil Procedure 7(a). In making

this request, Defendants inaccurately state that they are “entitled” to such an order. See Motion to

Dismiss (Dkt. #6) at 8. In fact, the very case that Defendants cite in their Motion to Dismiss makes

clear that there is no such entitlement but, rather, that the Court “may, in its discretion” issue such

an order.    See Schultea v. Wood, 47 F.3d 1427, 1433, 1433-34 (5th Cir. 1995).              However,




                                                 -7-
          Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 8 of 10



Defendants have offered this Court no reason to exercise that discretion or to otherwise deviate from

the ordinary pleading procedures afforded to litigants in this Court.

  18. Moreover, in making their Rule 7(a) request, Defendants appear to suggest that their

qualified immunity claim is based on the notion that “reasonable state officials” are not aware that

Plaintiff’s salary should be compared to similar positions within the HHS system. See Motion to

Dismiss (Dkt. #6) at 8.       However, as discussed above, Defendant DSHS’s own “Action

Memorandum” not only shows that DSHS is aware that Plaintiff’s salary should be compared to

similar positions within the HHS system, but also shows that DSHS actually has made that exact

comparison.    See Plaintiff’s First Amended Complaint (Dkt. #11) ¶ 15, 18 (quoting Action

Memorandum for the Commissioner (July 15, 2015) at 2. If, instead, Defendants were attempting

to make the broader claim that “reasonable state officials” are not aware that women should be paid

the same as men for performing substantially equal work under substantially equal conditions,

Plaintiff notes that the United States enacted the Equal Pay Act in 1963. See, e.g., Tomchek-May,

581 F. Supp. at 1166.

                                     REQUEST FOR RELIEF

       For the reasons stated above, Plaintiff has stated claims on which relief can be granted,

and, therefore, Plaintiff asks the Court to deny Defendants’ Motion to Dismiss and retain this

lawsuit on the Court’s docket and for all other just relief.




                                                 -8-
Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 9 of 10




                           Respectfully submitted,


                           FROST DOMEL PLLC
                           Emily Frost
                           State Bar No. 24036601
                           711 W. 7th Street
                           Austin, Texas 78701
                           (512) 640-5501
                           (512) 225-5565 FAX
                           emily@frostdomel.com



                           By:
                                  Emily Frost

                           ATTORNEYS FOR PLAINTIFF




                            -9-
        Case 1:17-cv-00257-SS Document 12 Filed 09/11/17 Page 10 of 10



                                    Certificate of Service

       I certify that on September 11, 2017, a true and correct copy of the foregoing document
was electronically filed on the CM/ECF system, which will automatically serve a Notice of
Electronic Filing on the following:

Marc Rietvelt
Assistant Attorney General
Tort Litigation Division, MC-030
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548
(512) 463-2197
(512) 457-4457 FAX
Marc.Rietvelt@oag.texas.gov

ATTORNEY FOR DEFENDANTS




                                           Emily Frost




                                            - 10 -
